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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                   )
JANSSEN BIOTECH, INC.,                             )
                Plaintiff,                         )
                                                   )       Case No. 1:17-cv-11008-MLW
                                                   )
v.                                                 )
                                                   )
CELLTRION HEALTHCARE CO., LTD.,                    )
CELLTRION, INC., and                               )
HOSPIRA, INC.                                      )
                  Defendants.                      )
                                                   )

                       ASSENTED-TO MOTION FOR ADMISSION
                       PRO HAC VICE OF BARBARA L. MULLIN

       Plaintiff Janssen Biotech, Inc., by and through Nutter McClennen & Fish LLP, Seaport

West, 155 Seaport Boulevard, Boston, Massachusetts, hereby moves that Barbara L. Mullin of

Akin Gump Strauss Hauer & Feld LLP be admitted pro hac vice in the above case. Pursuant to

Local Rule 83.5.3, this motion is accompanied by the Affidavit of Barbara L. Mullin.

                                                   JANSSEN BIOTECH, INC.,

                                                   By its attorney,

                                                    /s/ Alison C. Casey
                                                   Alison C. Casey (BBO # 688253)
                                                   acasey@nutter.com
                                                   NUTTER MCCLENNEN & FISH LLP
                                                   Seaport West
                                                   155 Seaport Boulevard
                                                   Boston, MA 02210
                                                   (617) 439-2000
Dated: May 9, 2018
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                             LOCAL RULE 7.1 CERTIFICATION

       I hereby certify that on May 9, 2018, counsel for plaintiff conferred with counsel for
defendants regarding the subject of this motion. Defendants assent to this motion.


                                                       /s/ Alison C. Casey

                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was filed through the electronic
filing system and served electronically to the registered participants as identified on the Notice of
Electronic Filing.
                                                        /s/ Alison C. Casey




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